                 Case 3:05-cr-05823-RBL       Document 133     Filed 08/16/06     Page 1 of 1



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 3                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
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 5      UNITED STATES OF AMERICA,
 6                                                             Case No. CR05-5823RBL
                                Plaintiff,
 7                                                     ORDER RE: ALLEGATIONS OF
                         v.                            VIOLATION OF CONDITIONS OF
 8                                                     SUPERVISION
        APRYL J BEACH,
 9                              Defendants.
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12          THIS MATTER comes on for a disposition hearing on the Petition of the United States Pretrial
     Services Office alleging that the defendant has violated the conditions of supervision under bond.
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                The plaintiff appears through Assistant United States Attorney, Greg Gruber and Kent Liu.
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                The defendant appears personally and represented by counsel, Thomas Campbell.
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            The U.S. Pretrial Services Office has filed a petition alleging violation of the terms and
16   conditions of supervision by consuming alcohol on or about August 4, 2006; the defendant has been
     advised of the allegations; the defendant has been advised of her right to a hearing and the maximum
17   consequences if found to have been in violation; and the defendant having freely and voluntarily
     acknowledged the alleged violation.
18
            NOW THEREFORE, the court finds the defendant has violated the conditions of her Pretrial
19   Supervision while on release under bond, and orders that the defendant be detained for failing to show
     that she will not flee or pose a danger to any other person or the community pursuant to CrR
20   32.1(a)(1), and CrR 46(c), to be delivered as ordered by the court for further proceedings.

21           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
     defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
22   Office.

23                                                      August 16, 2006.

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                                                        ___s/ Karen L. Strombom
25                                                      Karen L. Strombom, U.S. Magistrate Judge

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     ORDER
     Page - 1
